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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA

   Plaintiff,

   v.                                                Criminal Action No. 17-232-EGS

   MICHAEL T. FLYNN,                                                SEALED

   Defendant.




                 MOTION TO COMPEL THE PRODUCTION OF BRADY
                 MATERIAL AND FOR AN ORDER TO SHOW CAUSE

        Michael T. Flynn (“Mr. Flynn”) requests this Court (i) order the prosecutors to show

cause why they should not be held in contempt for their repeated refusals to comply with this

Court’s Brady order and their constitutional, legal, and ethical obligations; (ii) compel the

government to produce to Mr. Flynn evidence relevant and material to his defense as identified

in this Motion; (iii) compel the government to produce to the defense any additional information

that has come to the attention of the Inspector General, the FBI, or any other member of the

Department of Justice that bears on the government’s own conduct or its allegations against Mr.

Flynn; and (iv) order the government to preserve all emails, documents, texts and other material

relevant to the investigation of Mr. Flynn including by Special Counsel.

        I.      Background

        As explained more fully in Mr. Flynn’s accompanying brief, Brady v. Maryland and its

progeny require the government to produce all evidence “material either to guilt or to

punishment, irrespective of the good faith or bad faith of the prosecution.” 373 U.S. 83, 87

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(1963). Because the government is supposed to pursue justice—not merely convictions—its

responsibility to produce Brady material is a grave one, its scope wide-ranging, and its duration

ongoing. Indeed, this Court has entered both an initial Standing Order to produce Brady material,

on December 12, 2017, and an updated Order on February 16, 2018, making it clear to the

government that its duty to produce exculpatory evidence exists independently of Mr. Flynn’s

guilty plea, and that that duty has not expired.

       Yet, when undersigned new counsel for Mr. Flynn requested a detailed list of outstanding

Brady material immediately upon taking over from prior counsel, Mr. Van Grack glibly

responded a few weeks later, on June 26, 2019, writing:

       [t]he government has exceeded its discovery and disclosure obligations in this matter,
       including those imposed pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and the
       Court’s Standing Order dated February 16, 2018. Additionally, in the plea agreement that
       your client signed on November 30, 2017, your client waived the right to any further
       discovery or disclosures of information. As such, the government does not anticipate
       providing additional information in response to your letter.1

       Given the material defense counsel has requested, which remains outstanding, Mr. Van

Grack’s denial that further Brady material exists is patently absurd. It demonstrates arrogance

and utter contempt for the letter and the spirit of this Court’s explicit order, the rule of Brady v.

Maryland, and the protections guaranteed to defendants by the U.S. Constitution. In fact, just last

week, Mr. Van Grack produced an additional 330 pages that included information that any

reasonable attorney would understand as Brady evidence in light of Special Counsel’s

investigation and assertions that Mr. Flynn was an undisclosed “agent of Russia” or an “agent of




1
     On July 12, 2019, Mr. Van Grack again refused our request for Brady material, again
suggesting that Mr. Flynn’s plea ended the prosecutors’ Brady obligation while touting the
government’s supposedly extensive production. It has reiterated its position in the Status Report
just filed.

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Turkey.”2 That production also shows that Mr. Flynn passed his polygraph test in 2016 and his

security clearance was renewed. This was at the same time the FBI seems to have been

investigating him under the pretext that he was an “agent of Russia” and/or of Turkey.

Interestingly, the new production also shows that James Clapper refused to assist in the

investigation for Mr. Flynn’s security clearance, which Mr. Flynn received after a full

investigation despite Mr. Clapper’s actions.

         Yet again, in the Status Report filed today, the prosecutors exude arrogance in their flat

denials of both our request for security clearances and the production of Brady material.

Production of obvious Brady material while repeatedly and stoutly denying any such material

exists prompts questions of how much more is still outstanding and whether these prosecutors

are willing or able to recognize it when they see it.    The only alternative explanation is even

worse.

      II. The Government Must Be Compelled to Produce and Should be Held in
Contempt for Failing to Produce Brady Evidence the Defense Has Long Requested.

         Since June 6, 2019, immediately upon accepting Mr. Flynn’s defense, new counsel for

Mr. Flynn has requested the following information in unredacted form pursuant to Brady and its

progeny. Thoroughly stymied in our efforts to obtain this information from the government,

despite its obligations to produce it, we necessarily enlist the aid of this Court in enforcing its

Standing Order.

      1. A letter delivered by the British Embassy to the incoming National Security team after
         Donald Trump’s election, and to outgoing National Security Advisor Susan Rice (the



2
     The most recent production demonstrated that Mr. Flynn briefed the Defense Intelligence
Agency on the people he was likely to meet on the Turkey project and the subject of that
scheduled meeting before it happened. These prosecutors are still suppressing evidence that he
did so on all his foreign contacts from the time he left DIA.


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     letter apparently disavows former British Secret Service Agent Christopher Steele,
     calls his credibility into question, and declares him untrustworthy).

2. The original draft of Mr. Flynn’s 302 and 1A-file, and any FBI document that
   identifies everyone who had possession of it (parts of which may have been leaked to
   the press, but the full original has never been produced). This would include
   information given to Deputy Attorney General Sally Yates on January 24 and 25,
   2017.

3. All documents, notes, information, FBI 302s, or testimony regarding Nellie Ohr’s
   research on Mr. Flynn and any information about transmitting it to the DOJ, CIA, or
   FBI.
4. All payments, notes, memos, correspondence, and instructions by and between the
   FBI, CIA, or DOD with Stefan Halper—going back as far as 2014—regarding
   Michael Flynn, Svetlana Lokhova, Mr. Richard Dearlove (of MI6), and Professor
   Christopher Andrew (connected with MI5) and Halper’s compensation through the
   DOD Office of Net Assessment as evidenced by the whistleblower complaint of Adam
   Lovinger, addressed in our brief. This includes David Shedd (former Deputy Director
   of DIA) and Mike Vickers, who were CIA officers; James H. Baker; former DIA
   Director LTG Stewart; former DIA Deputy Director Doug Wise; and the DIA Director
   of Operations (DOD). This should also include any communications or
   correspondence of any type arising from the investigation or alleged concerns about
   Mr. Flynn that contained a copy to (as a “cc” or “bcc”) or was addressed directly to the
   DNI James Clapper and his senior staff; to CIA Director Brennan and his senior staff;
   or to FBI Director Comey, his Deputy Andrew McCabe and senior staff.

5.   The Flynn 302 dated January 19, 2017, mentioned in the Mueller Report.

6. All and unredacted Page-Strzok text messages. Mr. Van Grack’s October 4, 2018,
   letter asserts: "To the extent the text messages appear to be incomplete or contain gaps,
   we do not possess additional messages that appear to fill such gaps." The government
   should be compelled to identify to whom “we” refers, where the originals are, and
   whether any of the gaps have been filled or accounted for.

7. All documents, reports, correspondence, and memoranda, including any National
   Security letter or FISA application, concerning any earlier investigation of Mr. Flynn,
   and the basis for it. (The existence of these earlier investigations was disclosed in the
   Mueller Report; see Vol. II at pp. 24, 26.)

8. All transcripts, recordings, notes, correspondence, and 302s of any interactions with
   human sources or “OCONUS lures” tasked against Mr. Flynn since he left DIA in
   2014.



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9. The unredacted Page-Strzok text messages as well as text messages, emails and other
   electronic communications to, from, or between Andrew McCabe, James Comey, Rod
   Rosenstein, Bruce Ohr, Nellie Ohr, John Carlin, Aaron Rouse, Carl Ghattas, Andrew
   Weissmann, Tashina Gauhar, Michael Steinbach,                  , and Zainab Ahmad,
   regarding Mr. Flynn or the FISA applications or any surveillance (legal or illegal) that
   would have reached Mr. Flynn’s communications.

10. All evidence concerning notification by the Inspector General of the DOJ to the
    Special Counsel of the Strzok-Page text messages, including the actual text of any
    messages given to the Special Counsel, and the dates on which they were given.
    Although the Inspector General notified Special Counsel of the tens of thousands of
    text messages between Peter Strzok and Lisa Page no later than July 2017—the
    prosecutors did not produce a single text message to the defense until March 13, 2018.

11. All evidence of press contacts between the Special Counsel Office, including Andrew
    Weissmann, Ms. Ahmad, and Mr. Van Grack from the departure of Peter Strzok from
    Special Counsel team until December 8, 2017, regarding Mr. Flynn.

12. Unredacted copies of all memos created by or other communications from James
    Comey that mention or deal with any investigation, surveillance, FISA applications,
    interviews, or use of a confidential human source or “OCONUS lures” against Mr.
    Flynn.

13. An unredacted copy of all of James Comey’s testimony before any Congressional
    committees.

14. The James Comey 302 for November 15, 2017, and all Comey 302s that bear on or
    mention Mr. Flynn.

15. Notes and documents of any kind dealing with any briefings that Mr. Flynn provided
    to DIA after he left the government.

16. Any information, including recordings or 302s, about Joseph Mifsud’s presence and
    involvement in engaging or reporting on Mr. Flynn and Mifsud’s presence at the
    Russia Today dinner in Moscow on December 17, 2015.

17. All notes, memoranda, 302s, and other information about the McCabe-Strzok meeting
    or meetings with Vice President-Elect or Vice President Pence (these meetings were
    referenced in the Mueller Report at Vol II, p. 34).

18. All Mary McCord 302s or interviews, including when she knew that Mr. Flynn did
    not have “a clandestine relationship with Russia.”



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19. Any Sally Yates 302s or other notes that concern Mr. Flynn, including treatment of her
    meetings with FBI Agents on January 24 and 25, 2017, her meetings with anyone in
    the White House, and the draft 302 of the Flynn interview on January 24 she reviewed
    or was read into.

20. An internal DOJ document dated January 30, 2017, in which the FBI exonerated Mr.
    Flynn of being “an agent of Russia.”

21. All information provided by Kathleen Kavalec at the Department of State to the FBI
    regarding Christopher Steele prior to the first FISA application.

22. Any and all evidence that during a senior-attended FBI meeting or video conference,
    Andrew McCabe said “First we fuck Flynn, then we fuck Trump,” or words to that
    effect.

23. The two-page Electronic Communication (EC) that allegedly began the “Russia
    Collusion” investigation.

24. All information that underlies the several FISA applications, including any
    information showing that any of the assertions in the applications were false,
    unverified, or unverifiable.

25. All documents, notes, information, FBI 302s, or testimony regarding any debriefing
    that Bruce Ohr gave to anyone in the FBI or Department of Justice regarding
    Christopher Steele.

26. Testimony, interviews, 302s, notes of interviews of all persons who signed FISA
    applications regarding Mr. Flynn or anyone that would have reached Mr. Flynn’s
    communications, without regard to whether those applications were approved or
    rejected.

27. All FISA applications since 2015 related to the Russia matter, whether approved or
    rejected, which involve Mr. Flynn or reached his communications with anyone.

28. Information identifying reporters paid by Fusion GPS and/or the Penn Quarter group
    to push “Russia Collusion,” communications regarding any stories about Mr. Flynn,
    and any testimony or statements about how the reporters were used by the government
    regarding Mr. Flynn.

29. FBI 302s of KT McFarland, notes of interviews of her or her own notes, and text
    messages with Mr. Flynn from approximately December 27, 2016, until Flynn’s
    resignation.


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30. Any information regarding the SCO’s and DOJ’s destruction of the cell phones of
    Peter Strzok and Lisa Page (after being advised of the thousands of text messages that
    evidenced their bias) that has been classified or otherwise not available to the public
    from the published Inspector General Report.

31. Any information regarding                                eradication of cell phone data,
    texts, emails, or other information belonging to Peter Strzok and Lisa Page that created
    the “gap” identified by the IG.

32. Information about any parts of any polygraph examinations failed by Peter Strzok after
    Mr. Flynn was first the subject of any FBI investigation—authorized or unauthorized.

33. Brady or Giglio material newly discovered by the government (and by the Inspector
    General in his separate investigations) in the last two years.

34. A full unredacted and copies of the recordings of Mr. Flynn’s calls with Ambassador
    Kislyak or anyone else that were reviewed or used in any way by the FBI or SCO in its
    evaluation of charges against Mr. Flynn.

35. All FBI 302s, notes, memoranda of James Clapper regarding Mr. Flynn, and the cell
    phone and home phone records of Mr. Clapper and David Ignatius between December
    5, 2016, and February 24, 2017.

Although not previously requested, the government should be compelled to produce:

36. Unredacted scope memos written for the Special Counsel and any requests by Special
    Counsel that mention Mr. Flynn or his son.

37. All FBI 302s or any notes of interviews of David Ignatius or any other reporter
    regarding the publication of information concerning Mr. Flynn and/or the reporters’
    contacts with James Clapper, Andrew McCabe, John Brennan, Michael Kortan, or
    anyone in the FBI, DNI, DOD, DOJ, or CIA regarding Mr. Flynn.
38. FBI 302s and interview notes of Jim Woolsey, including notes by SCO members of
    conversations with Woolsey about Mr. Flynn, Flynn Intel Group, the Turkey project,
    and his separate meeting with officials of Turkey after the meeting that was the subject
    of the FIG FARA filing.
39. All communications between Mr. David Laufman, Ms. Heather Hunt and any other
    member of the National Security Division regarding the FARA registration for Mr.
    Flynn and FIG and notes, reports or recordings of their interaction with Covington &
    Burling with regards to the filing and its contents. See Def.’s Resp. to the Ct.’s Order
    of July 9 & Gov.’s Filing of July 10, Ex. D, July 11, 2019, No. 17-232-EGS.



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      40. Unredacted notes of the                    and Strzok from the interview of Mr. Flynn on
          January 24, 2017.

       IV.     The Defense Requests Production of Actual Documents the Government Has
               Referred to Only in “Summaries” in its Production Letters.

       In its letters submitted pursuant to the Protective Order in this case, the government has

admitted that it possesses information and documents for which it has provided only

“summaries.” Remarkably, it has refused to produce the actual evidence for evaluation by

lawyers dedicated to serving the defendant’s interests, as is required in our constitutional system.

Therefore, Mr. Flynn demands the unredacted 302 reports and any notes or recordings in any

form of the following meetings or interviews:

               a. Former Deputy Director Andrew McCabe, regarding Mr. Flynn, his calls with
                  Ambassador Kislyak, members of the White House discussing those, and his
                  discussions, planning session, and debriefing session with agents before and
                  after the Flynn interview on January 24, 2017.

               b. Recordings, notes, and memoranda by any and all persons who participated in
                  the planning session for the interview of Mr. Flynn, at which it was decided
                  that the agents would not inform him that it was an actual interview or that he
                  was under investigation—so as to keep him “relaxed.”. (These persons
                  include David Bowdich, Jen Boone,                  , Peter Strzok, Lisa Page,
                  Trish Andersen, and Andrew McCabe.)

               c. Recordings, notes, and memoranda by any and all persons who participated in
                  the debriefing sessions following the interview of Mr. Flynn, including
                         , Peter Strzok, Jon Moffa, Andrew McCabe, Bill Priestap, David
                  Bowdich,              , Trish Andersen, and James Comey.

               d. Former Principal Associate Deputy Attorney General Matthew Axelrod
                  regarding Mr. Flynn.

               e. Former Acting Assistant Attorney General Mary McCord regarding the FBI’s
                  decision not to give Mr. Flynn a Title 18, Section 1001 warning, and the
                  decision not to re-interview him despite the general practice of the FBI to give
                  subjects that opportunity.

               f. Former Acting Attorney General Sally Yates, regarding her opinion that the
                  January 24, 2017, surprise interview of Mr. Flynn was problematic and her
                  lack of clarity of the FBI’s purpose in investigating Mr. Flynn.

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               g. White House and transition officials regarding Mr. Flynn’s conversations with
                  Ambassador Kislyak.

               h. Michael Boston, Phil Oakley, Carl Pilgrim, Graham Miller, regarding Flynn
                  Intel Group and Mr. Flynn, and Brian McCauley, regarding Mr. Flynn’s desire
                  to file FIG’s FARA registration “the right way” with the DOJ.

               i. The entire report of the SCO’s interview of James Comey, provided in camera
                  to the Court, but only summarized to defense counsel in the SCO’s letter of
                  December 14, 2018.

      This prosecution and the circumstances surrounding it are unprecedented. The only way

to achieve justice in this case is to provide transparency and the full disclosure of all information

relevant to the defense of Mr. Flynn. Now, more than ever, the government must be held to the

highest standards, as classically set out in Berger v. United States, 295 U.S. 78, 86 (1935) (“The

United States Attorney is the representative not of an ordinary party to a controversy, but of a

sovereignty whose obligation to govern impartially is as compelling as its obligation to govern at

all; and whose interest, therefore, in a criminal prosecution is not that it shall win the case, but

that justice shall be done.”); United States v. Harvey, 791 F.2d 294, 300 (4th Cir. 1986) (noting

“both constitutional and supervisory concerns require holding the Government to a greater

degree of responsibility”).

      For these reasons, Mr. Flynn requests that this motion be granted. The government should

be ordered to produce the documents listed in this motion and to preserve all documents

including phones, texts, and emails of all Special Counsel team members; that the government be

ordered to show cause why the prosecutors in this matter should not be held in contempt for their

failures to produce all information pursuant to this Court’s Standing Order of February 16, 2018;

and that after hearing and full consideration of the facts and law, this Court find the prosecutors




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in contempt for their failure to respect and abide by this Court’s order to produce all Brady

evidence.

      August 30, 2019

                                                         Respectfully submitted,



                                          /s/ Sidney Powell
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                                          Molly McCann
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                                   CERTIFICATE OF CONFERENCE

          I hereby certify that the parties have conferred on the above Motion and Ms. Curtis

advised that the government opposes this motion.

                                                                      /s/ Sidney Powell
                                                                      Sidney Powell, P.C.
                                                                      2911 Turtle Creek Blvd.,
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                                                                      Tel: 214-707-1775
                                                                      sidney@federalappeals.com
                                                                      Admitted Pro Hac Vice




                                  CERTIFICATE OF SERVICE

          I hereby certify that on Friday, August 30, 2019, I filed a copy of the above and foregoing

in the office of the Clerk via the CM/ECF system, which will provide notice to all counsel of

record.

Jessie K. Liu, U.S. Attorney for the District of Columbia
Brandon L. Van Grack, Special Assistant U.S. Attorney
Deborah Curtis, Assistant U.S. Attorney
Jocelyn Ballantine, Assistant U.S. Attorney
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                                                                      /s/ Sidney Powell
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA

   Plaintiff,

   v.                                              Criminal Action No. 17-232-EGS

   MICHAEL T. FLYNN,

   Defendant.




                                              ORDER

        The Court has carefully considered Mr. Michael T. Flynn’s motion to show cause and to

compel production of Brady material and it is hereby ORDERED that said motion is

GRANTED. The government is hereby ORDERED to show cause why it should not be held in

contempt for its violations of this Court’s Standing Brady Order. The government is hereby

ordered to provide all original documents requested by the defense for which the government has

only provided summaries, including raw notes supporting those documents.

        The government is also ordered to take all steps necessary to preserve all forms of

electronic communications, cell phones, and computers of all members of Special Counsel team

and the Department of Justice or FBI who communicated with Lisa Page and/or Peter Strzok,

whose devices were destroyed. The government is also ordered to preserve all documents that

mention Mr. Flynn.

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The government’s response to Mr. Flynn’s Motion is due September ___, 2019.

SO ORDERED this the _______ day of _____________, 2019.




                                      _______________________________________
                                      HONORABLE EMMET G. SULLIVAN, JR.
                                         UNITED STATES DISTRICT COURT




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